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       District 8

    Population Statistics                      Ethnicity                      Voter Statistics

Town of Amherst                 15,049   White                    75,877   Registered Voters     53,167
Town of Cheektowaga             62,593   % White               9079.00%
Town of Lancaster                5,934   Black                     4,534   Democrats             27,181
                                         % Black                  5.43%    Republicans           13,177
Total Population                83,576   American Indian             197   Conservatives            972
Deviation                           27   % American Indian        0.24%    Working Families         264
% Deviation                    0.00032   Asian                     1,284   Independence           2,423
                                         % Asian                  1.54%    Green                    120
Age 18+                         67,683                                     Other                    599
                                         Hispanic Origin           1,721   Blank                  8,431
                                         % Hispanic Origin        2.06%
                                                                           Male                  24,189
                                         Black 18+                 3,212   Female                28,978
                                         % Black 18+              4.75%
                                         Hispanic Origin 18+       1,006   Age 18 - 24            3,902
                                         % Hispanic 18+           1.49%    Age 25 - 34            7,918
                                                                           Age 35 - 40            4,587
                                                                           Age 41 - 45            4,368
                                                                           Age 46 - 54            9,179
                                                                           Age 55 - 61            6,668
                                                                           Age 62+               16,545

                                                                           Federal Voters          121
                                                                           Military Voters          83
                                                                           Disabled                545
                                                                           Nursing Home             46

                                                                           Voted 2007 Election   21,299
                                                                           Voted 2009 Election   14,316
